Case 1:06-cv-03687-NGG-LB Document 14 Filed 03/19/07

06 CV 3687 DGT)(LB)

 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

ERNEST JETER,

Plaintiff,

-against-

NEW YORK CITY DEPARTMENT OF EDUCATION
OF THE CITY OF NEW YORK, et al.,

Defendants.

 

PLAINTIFF'S MEMORANDUM OF LAW IN OPPOSITION
TO DEFENDANT'S MOTION TO DISMISS PLAINTIFF'S
COMPLAINT AND AFFIDAVIT IN SUPPORT

 

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PRELIMINARY STATEMENT

The defendants have moved this Court to dismiss Plaintiff's complaint pursuant to Rule 12(b)(6)
of the Federal Rules of Civil Procedure on the grounds of: (i) res judicata, (ii) lack of subject
matter jurisdiction, and (iii) the intra-corporate immunity doctrine. The defendants claim that
Jeter IIT should be dismissed on res judicata grounds because the core of Plaintiff's complaint in
Jeter IT is that the DOE harassed, investigated, threatened Plaintiff with disciplinary charges, and,
ultimately filed disciplinary charges in an effort to terminate Plaintiff's employment. In
furtherance of the defendants claim, the defendants alleged that this claim, i.e., Jeter IJ, and its
supporting evidence could have been raised by plaintiff in Jeter J, and because Plaintiff could
have raised these claims in the previous action, Plaintiff is now precluded from asserting these
claims in Jeter JI. Plaintiff is asserting that these assertions on the part of the defendants are
inaccurate.

The defendants have also moved this Court to dismiss Plaintiff's Title VII and NYSDHR claims
on the assertion that Plaintiff failed to file suit within 90 days of receiving the right-to-sue letter
and the election of remedies doctrine. Plaintiff is alleging the the Title VII is not barred because
Plaintiff did filed a claim with this Court within 90 days of receiving the right-to-sue letter. In
addition, Plaintiff NYSDHR claim is not barred by the election of remedies doctrine because the
defendants procured the "No Probable Cause" findings that were based on fraudulent information

that was provided to the NYSDHR.

Plus, the defendants claimed that Plaintiff's sections 1981 and 1983 claims should be dismissed
because of a prior state administrative proceedings, namely, the NYSDHR proceeding and the

3020-a Education Law Proceeding. Plaintiff further alleges that his sections 1981 and 1983
should not be dismissed for the following reasons: (i) if there is an adverse decision against
plaintiff in the 3020-a proceeding, Plaintiff is alleging that this possible decision was procured by
fraud and deliberate misrepresentation, (ii) all the parties in plaintiff's Jeter 7 complaint to this

Court were not parties in the NYSDHR claim and the 3020-a proceedings.

Defendants also alleged that Plaintiff's 42 U.S.C. sections 1985 and 1986 claims are barred by
the intra-corporate immunity doctrine. Plaintiff is asserting that 42 U.S.C. sections 1985 and
1986 are not barred by the intra-corporate immunity doctrine for the simple fact that the evidence
will demonstrate that the mother who claimed that she filed a complaint with DOE that Plaintiff
was not providing her children with mandated counseling is not an employee of the City of New
York, and she played a central role in the conspiracy to cause harm to Plaintiff. Plaintiff is
alleging that if this Court requires that Plaintiff add this party as one of the defendants, then
Plaintiff is taking this opportunity to request that he be allowed to amend the complaint to

include this defendant.

The defendants have also, in the alternative, sought a stay due to plaintiff section 3020-a
Education Law Proceeding in that the stay may resolve the primary issue in this action, i. e.,
whether the disciplinary charges commenced against were proper or had a discriminatory motive.
As Plaintiff stated above, if a decision in the 3020-a preceeding adversely harm Plaintiff,

Plaintiff is alleging that the decision is/was procured by fraud and misrepresentation.
STATEMENT OF FACTS

 

Plaintiff is a tenured guidance counselor with DOE. See, Declaration of Daniel Chiu, dated
January 26, 2007 ("Chiu Dec."), Exhibit A paragraph(hereafter "para. or paras.") 4D. Plaintiff has
been employed by the DOE since 1994. See, Chiu Dec., (hereafter Chiu Dec.) Ex. A, para. 4D.
Defendants in their "Statement of Facts" in their move to dismiss Plaintiff's complaint alleged the
following: (i) Plaintiff filed an Amended Complaint on May 6, 1999 against DOE pursuant to 42
U.S.C. section 20006 et seq. (‘Title VII") and 42 U.S.C. section 12111 et seq. ("ADA")., (ii)
Plaintiff alleged that he was subjected to harassment and discrimination because of his race and
his purported disability and that he was denied reasonable accommodation for an injury to his left
leg., (iii) Jeter J alleged discrimination and harassment by DOE's medical bureau, and others who
are empowered to grant line of duty injuries., (iv) Plaintiff also alleged that the "whole campaign
of discrimination and harassment was due to an attempt by the Board of Education to fire
plaintiff or make him quit.", (v) The decision in Jeter J held that Plaintiff's claims under Title VII
and the ADA for events that occurred prior to April 26, 1997 were time barred and that Plaintiff
sections 1981 or 1983 claim was barred for acts occurring prior to May 4, 1996. See Defendants'
Memorandum of Law in Support of Motion to Dismiss, dated January 26, 2007, p. 4 (hereinafter

Defends. Memo. of Law); Chiu Dec. Ex. B.

The defendants continued by stating that: (i) With respect to the merits of Plaintiff's claims, the
Court held that the "excessing" or transfer of Plaintiff between various schools was not an
adverse employment action and the claim was therefore dismissed., (ii) Plaintiff's remaining
claims that was considered by the Court: (i) the denial to extend his 1999 injury in the line of

duty status; (ii) Plaintiff's ADA claim that he was unable to walk and climb stairs; (iii) violation

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of his civil rights pursuant 42 U.S.C. sections 1981 and 1983; (iv) retaliation for filing a Notice
of Claim; and (v) request for additional discovery, were all denied by the Court. See Chiu Dec.

Ex. B.

In furtherance of the defendants' claim, the defendants alleged: (i) Plaintiff filed two
discrimination complaints with the New York State Division of human Rights ("NYSDHR"). See
Chiu Dec., Exs. F and I., (ii) Each discrimination complaint was dismissed by the NYSDHR with
a "No Probable Cause " finding. See, Chiu Dec., Exs. G and J., (iii) The U.S. Equal Employment
Opportunity Commission ("EEOC") adopted the findings of the NYSDHR and issued two right-
to-sue letters. See Chiu Dec., Exs. H and K., (iv) On July 27, 2006, over 180 days after the first
right-to-sue letter was issued, Plaintiff filed the instant suit with the pro se office. See Chiu Dec.,

Ex. C.

Plaintiff is alleging that the right-to-sue letter issued on May 4, 2006 is the proper dated to
determine if plaintiff filed the complaint with this Court on July 27, 2006 within the time to file
a suit in this Court. See Chiu Dec., Ex. K. If the Court will examine the complaints in Chiu Dec.,
Exs. H and K, the Court will see that the two complaints are completely different in all aspects.
Each of the two complaints deals with different individuals and allegations. See, Chiu Dec., Exs.

Aand C.

The defendants also alleges that: (i) Similar to Jeter J, Plaintiff alleges in Jeter IJ discrimination
on the basis of race and retaliation., (ii) Plaintiff also alleges, like Jeter I, that the campaign to
discriminate and harass Plaintiff was done "with the sole intent to create charges with the intent
to terminate plaintiff"., (iii) It is alleged by Plaintiff that the discrimination and harassment began

"all while proceeding were continuing or almost immediately after a judgment was entered in this

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Court before or in March of 2004., (iv) It is further alleged by Plaintiff that "Defendant's actions
are continuing violations and plaintiff is raising the continuing violation theory because
defendant's actions against plaintiff have occurred over an extended period of time since plaintiff

began working for the defendant. See Defends. Memo of Law, p. 5.

Defendants also alleged that: (1) In Jeter I, Plaintiff bases his claim on five different theories.,
and (2) plaintiff claims in Jeter I/ that the investigation into Plaintiff, the threat to commence
disciplinary charges and the ultimate filing of disciplinary charges, which were done in an
attempt to terminate his employment, are violations of: (i) Title VII and NYSDHR; (ii) retaliation
pursuant to Title VIL; (iii) a hostile work environment; (iv) violation of 42 U.S.C. sections 181,

1983; and (v) a violation of sections 1985, 1986. See Defends. Memo. of Law, p. 5.

At this point, Plaintiff is disputing any attempt the defendants alleged that the claims in Jeter IJ
are similar to the claims raised in Jeter I. See Chiu Dec. Exs. A and C.The allegations
complained of in Jeter I] are completely different from allegations complained of in Jeter J. Id. It
is also clear that allegations in Jeter J and Jeter IJ have arisen from different transactions. See
Chiu Dec. Exs. A and C. A comparison of the two complaints, Jeter J and Jeter II, will
demonstrate on the face of the two complaints that there are substantial differences, and all the
allegations alleged in Jeter IJ occurred either during or after Jeter J was filed on May 4, 1999. Id.
In addition, the gap in time between as to when Jeter J and Jeter IT was filed in this Court makes
it clear that plaintiff could not have raised allegations in Jeter J that was raised in Jeter I]
because those incidents occurred after the complaint was filed on May 4, 1999 and they cannot
be joined as a continuing violation. See Annis, 136 F.2d at 246 (discrimination allegedly suffered

before and after a six-year gap “cannot be joined as a continuing violation") "Selan v. Kiley F.2d
560, 565-67 (7th Cir. 1992) ( two-year gap between discriminatory events "negates the
contention that the acts were continuous or connected"); Blesedell v. Mobil Oil Co., 708 F. Supp.
1408, 1417-18 (S.D.N.Y. 1989) (no continuing violation in light of four-year interval between

discriminatory incidents), and Plaintiff was not obligated to file supplemental complaints.

PLAINTIFF'S COMPLAINT IS NOT BARRED BY
THE DOCTRINE OF RES JUDICATA.

The defendants have moved the Court to dismiss Plaintiff's complaint pursuant to the doctrine of
res judicata. The defendants states that res judicata applies to bar a second suit between the same
parties or their privies on the same cause of action or claim when a judgment is rendered on the
merits. In addition, defendants claims that the doctrine also "prevents litigation of a matter that
could have been raised and decided in a previous suit, whether or not it was raised." see Faconti
v. Henderson, 2006 U.S. Dist. Lexis 61238 *13-4 (E.D.N.Y. Aug. 29, 2006) (Irizarry, J)
("purpose of res judicata is to preserve the integrity of the judicial system by discouraging
frivolous claims and preventing a party from taking factually inconsistent positions in subsequent
litigation").
The defendant continued on page 6 of their moving paper to state that " The relevant factors in
determining whether res judicata applies are whether "(1) the previous action involved an
adjudication on the merits; (2) the previous action involved the [parties] or those privity with

them; [and] (3) the claim asserted in the subsequent action were, or could have been, raised in the
prior action." In Jeter J, the previous action does not involve the same parties as in Jeter II. See
Chiu Dec., Exs. A and C. It is also clear that the subsequent actions are not, or could not, have

been raised in the prior action. Id.

A. Plaintiff's Claims of False Disciplinary Charges Could not have been Asserted in Jeter J

 

The defendants alleged on page 7 of their moving papers that "In determining whether a second
suit is barred by this doctrine, the fact that the first and second suits involved the same parties,
similar legal issues, similar facts, or essentially the same type of wrongful conduct is not
dispositive." Maharaj v. Bankamerica Corp., 128 F.3d 94, 97 (2d. Cir. 1997) The defendants
continued on the same page by stating that " Rather, the first judgment will preclude a second
suit only when it involves the same 'transaction' or connected series of transactions as the earlier

suit." Id.

The defendants cited several issues pertaining to the amended complaint in Jeter J. (see Chiu

Dec., Ex. A.) Defendants cited the fact that Plaintiff commenced suit against DOE alleging:

1. Plaintiff was "harassed and discriminated against by the defendant because of his race:

African-American/black." see Chiu Dec., Ex. A, paragraph 4A)

2. Plaintiff alleged that "at each school that plaintiff worked at some one would make a wrongful
accusation. Accusing plaintiff of any thing from wrongful insubordination to some form of
abuse. The whole campaign of discrimination and harassment was due to an attempt by the
Board of Education representative to fire plaintiff or make plaintiff quit." see, Chiu Dec., Ex. A,

paragraph 40).

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3. Plaintiff also alleged that DOE discriminated against him because a disability and he suffered
retaliatory animus because he filed a Notice of Claim in 1995. (see, Chiu Dec., Ex. A, paragraph
AR).

4. Although Plaintiff raised these allegations, he presented no evidence to substantiate his claim

and this Court dismissed Jeter / in its entirety in a Memorandum and Order, dated March 25,

2004, following DOE's motion for summary judgment (see Chiu Dec., Ex. B).

The defendants in their attempt to seek a dismissal of Plaintiff's complaint are stating that the
"core" of Jeter I] can be described as the allegation that the DOE is attempting to unlawfully
terminate Plaintiff's employment by threatening him with and actually subjecting him to
disciplinary charges. The defendants continued on page 8 of their moving papers by stating that
"Consequently, if Plaintiff could have raised in Jeter J the transactions or series of transactions
that underlies the threat of and actual filing of disciplinary charges, Jeter IT will be barred on res

judicata grounds".

The defendants continued on page 9 by stating that in Jeter IT it is alleged by Plaintiff that:
1. "Defendant has deliberately by its concerted actions to cause plaintiff's work environment to
be hostile and abusive by taking actions to ensure that plaintiff will be brought up on false

disciplinary charges." (see, Chiu Dec. Ex. C, sec. D, paragraph 2).

2. Plaintiff then alleged in the next paragraph that "Defendant's action are continuing violations
and plaintiff is raising the continuing violation theory because defendant's actions against
plaintiff have occurred over an extended period of time since plaintiff began working for the

defendant." (see, Chiu Dec., Ex. C. sec. D, paragraph 3).

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3. The defendants continued by stating that ' More specific allegations are that Plaintiff was
subjected to an adverse employment action because of an "email dated April 1, 2003 that they
wanted to bring plaintiff up on disciplinary charges." (see, Plaintiff (hereafter, Pl.) Ex. A and
Chiu Dec. Ex. C, sec. C, paragraph 22(c)).

4. "Defendant threaten [sic]to bring plaintiff/complainant up on disciplinary charges on
disciplinary charges on May 9, 2003.

5. "Defendant deliberately sent Francine Dreyfus, LIS, in October 2003 to begin to set up charges
so that disciplinary action could be taken against plaintiff". (see, Chiu Dec., Ex. C, sec. D,
paragraph 35(a)).

The defendants claim that each of the alleged acts of discrimination occurred prior or while Jeter
I was pending. The defendants further argued that "The investigation into plaintiff's absences,
threatening to bring him up on disciplinary charges and the arrival of Francine Dreyfus "to begin
to set up charges so that disciplinary action could be taken that all underlie the actual filing of the
disciplinary charges in June 2005. Furthermore, the defendants claim that "As such, they are all
part of the same transaction alleged in Jeter J that "[t]he whole campaign of discrimination and
harassment was due to an attempt by the Board of Education representative to fire or make

plaintiff quit."

When the Court read Plaintiff's amended complaint filed on, March 6, 1999 and based on an
EEOC charge filed in 1997, the Court will see that there are no transactional connections
between Jeter J and Jeter II. (see, Chiu Dec., Exs. A. and C.). It is clear that in Jeter J, the cause
of actions alleged occurred prior to the date Plaintiff filed the complaint in this Court on March
6, 1999. (see, Chiu Dec. Ex. A.). From 1999 to 2003, there are a total 3 or 4 year between time

period when Jeter J was filed. Jeter II was filed in this Court on July 27, 2005 and based on

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discriminatory acts that occurred long after Jeter J, i.e., a period of approximately 6 years. (see,

Chiu Dec. Ex. A. and C.). Eight years if the original EEOC charges were filed in 1998.

The acts that the defendants are stating that Plaintiff raised in Jeter J are not related to
disciplinary charges defendant, DOE, filed against Plaintiff on June 6, 2005 (Chiu Dec., Ex. D. in
Ex. N.). It is clear that the defendant, DOE, did not file or attempt to file disciplinary charges and
there were no evidence produced during the litigation of Jeter J that supports the claim that issues
raised in Jeter IJ could have been raised Jeter I. (see, Chiu Dec.Exs. A, B and C.). The
defendants are claiming that Plaintiff should have raised the false disciplinary and the actual
disciplinary charges when in fact the acts had not occurred even during the time when Jeter I was
still pending. Jd. The defendants have not demonstrated how the acts alleged in Jeter IJ whereby
the same evidence is needed to support both claims, and where the facts essential to the second
were presented in the first. (see, Interoceanica Corp., 107 F.3d at 91 (quoting SEC v. First Jersey
Sec., 101 F.3d 1450, 1463-64 (2d Cir. 1996). Therefore, "Likewise, res judicata does not bar
subsequent litigation when the court in the prior action could not have awarded the relief
requested in the new action". See, e.g., Leather v. Eyck, 180 F.3d 420, 425 (2d Cir. 1999);
Burgos v. Hopkins, 14 F.3d 787, 790 (2d Cir. 1984). In addition, this Court has "To determine
whether two actions arise from the same transaction or claim, " See Pike, 266 F.3d at 91 and,
also, the court stated in that "we look to whether the underlying facts are related in time, space,
origin, or motivation, whether they form a convenient trial unit, and whether their treatment as a

unit conforms to the parties expectations............ Ibid.

In addition, in S.E.C. v. First Jersey Sec., Inc., 101 F.3d 1450, 1463 (2d Cir. 1996), the Court

stated that "In determining whether a second suit is barred by this doctrine [res judicata], the fact

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that the first and second suits involved the same parties, similar legal issues, similar facts or
essentially the same type of wrongful conduct is not dispositive." The Court continued by stating
that "Rather, the first judgment will preclude a second suit only when it involves the same
"transaction" or connected series of transactions as the earlier suit; that is to say, the second cause
of action requires the same evidence to support it and is based on facts that were also presented
in the first. Id at 1464."; see also Nevada v. United States, 463 U.S. 110, 129-30 (1983)
(requiring courts to first decide whether the same cause of action is being sued upon). It is clear
that the same evidence provided in support of Jeter J is not required to support Jeter IJ. Plus,

Jeter II is not based on the facts that appear in Jeter I. See, Chui Dec. Exs. A and C.

In addition, it is clear that this Court could not have granted relief for acts in the prior action,
Jeter I, for the relief requested in the new action, Jeter I]. See, e.g., Leather v. Eyck, 180 F.3d
420, 425 (2d Cir. 1999); Burgos v. Hopkins, 14 F.3d 787, 790 (2d Cir. 1994; Davidson v.

Capuano, 792 F.2d 275, 278, (2d Cir. 1986); See, Chiu Dec., Ex. B.

The defendants also claimed that Plaintiff could have raised claims that occurred while Jeter I
was pending. Claims, such as the email when Bonnie Brown, working under the title of operation
manager, wrote an email to Rachel Henderson on April 1, 2003 stating that they wanted to

charge Plaintiff. Pl. Ex. A. and Chiu Dec. Ex. N, Sub Ex. K.. It is clear that Plaintiff could not
have raised this issue for: 1) this email was not addressed to Plaintiff and 2) the defendants did
not produce any evidence as to the fact when Plaintiff gained actually knowledge of this
particular email. Plus, the defendant is also claiming for the May 9, 2003 letter and that Francine
Dreyfus was sent October 2003 to set up disciplinary charges against Plaintiff without

explaining or given actual fact or evidence that Plaintiff knew that this LIS was actually setting

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up charges. (Pl. Ex. B); See Weeks v. New York State (division of parole) Docket No. 00-0211
(2d Cir. 2001 (2000?)). The defendants are alleging that plaintiff was required to raised issues
when the defendants engaged in actionable conduct that occurred while the Jeter J was still
pending. (" Thus, as a matter of logic, when the second action concerns a transaction occurring

after the commencement of the prior litigation, claim preclusion generally does not come into

play. (First Jersey, 101 F.3d at 1464.)

Therefore, Plaintiff was not required to filed supplemental pleading setting forth defendants
subsequent conduct. Id. "Plaintiff's failure to supplement the pleading of his already commenced
lawsuit will not result in a res judicata bar when he alleges defendant's later conduct as a cause of
action in a second suit". First Jersey, 101 F.3d 1464. "New York Law is the same. See Cohen v.
Board of Educ. of East Ramapo Cent. School Dist. 84 AD2d 536, 537 (2d Dep't 1981) (res
judicata will not bar a lawsuit 'based upon events which occurred subsequent to the

commencement of the prior proceeding").

The defendants also misrepresented the facts that "Plaintiff did not argue that the DOE's threat of
disciplinary charges for his excessive absences was based on racial discriminatory animus.
Rather, he alleged that DOE discriminated against him because of an alleged disability." (Chiu
Dec. Ex. B, p. 10 and 22). That is to say, the "actual threat of disciplinary charges for excessive
absences" was never an issue in Jeter J and the operative word in this Court's "Memorandum and
Order" in re Jeter J is that "Dr. Susan Erber,......0...0..... , met with Jeter on February 24, 2003 to
discuss (emphasis added) his attendance record and possible disciplinary action ( emphasis
added) against him. The Court continued by stating that "Jeter continues to be an appointed

secondary guidance counselor at 811K". (Chiu Dec. Ex. B. p. 10).

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In addition, this Court in its Memorandum and Order dated March 25, 2004 did not entertain
Plaintiff's claim for being denied reasonable accommodation when Plaintiff was not allowed to
schedule his physical therapy on Tuesdays and Thursdays in 2003. See, Chui Dec., Ex. B, p. 22.
This Court decline to consider this issue because it was not properly before the Court as it was
raised for the first time in Plaintiffs Memorandum of Law in Support of Plaintiff's Opposition to
Defendant's Motion for Summary Judgment. ( see, Chiu Dec., Ex. B. p. 22); (also, see, Beckman
v. United Postal Serv., 79 F. Supp. 2d 394, 407-08 (S.D.N.Y. 2000) ( Plaintiff cannot raise a new
cause of action for the first time in a motion for summary judgment or motion in opposition to an
opponent's summary judgment motion). Therefore it is clear that this Court considered the
request for reasonable accommodation to attend physical therapy on Tuesdays and Thursdays as
a new cause of action. /d. This also demonstrate that Plaintiff has not fully litigated this matter
and received a final judgment. In fact this Court has not issued a final judgment, and
subsequently res judicata and collateral estoppel are inapplicable pertaining to this
complaint/cause of action. First Jersey, 101 F.3d at 1464. ( SEC v. First Jersey Sec., Inc., 101 F.

3d. 1450, 1463 (2d. Cir. 1996); see also, Chiu Dec. Ex. B. p. 27.

In fact, the Court has never entertained a hostile work environment claim because it was not
raised in Jeter J. Even though this Court stated that Plaintiff did not raised the continuing
violation doctrine or raised the hostile work environment claim, the acts that could have
supported a hostile work environment claim are not supported by the continuing violation
doctrine because of the time period in between the two hostile work environment claims in Jeter
Tand Jeter II. See, Annis, 136 F.2d at 246 ( discrimination allegedly suffered before and after a
six-year gap "cannot be joined as a continuing violation"); Selan v. Kiley, 969, F.2d 560, 565-67

(7th Cir.1992) ( two-year gap between discriminatory events " negates the contention that the

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acts were continuous or connected"); Blesedell v. Mobile Oil Co., 708 F. Supp. 1408, 1471-18 (S.
D.N.Y. 1989) (no continuing violation in light of four-year interval between discriminatory
incidents), and Plaintiff was not obligated to file supplemental complaints. See, First Jersey
complete citation below. All alleged acts that support a claim that plaintiff could have raised to
support a hostile work environment claim in Jeter J occurred between 1995 and 1997, i.e., the
excessing or transfers from from difference schools in violation of the seniority policy. See, Chiu
Dec. Ex. B. p. 14, footnote #5. These excessing acts did not occur through the same cause actions
against the defendants as alleged in Jeter IJ. See, Chiu Dec., Exs. A, B and C. The current hostile
work environment claim is based on an accumulation of new events that occurred after Jeter /
was commenced . See Chiu Dec. Ex. N: sub Exs.D, H, K, P, Q, R, U, V; X, Y, Z; AA, DD, EE,
and GG. Cf Gregory v. Widnall, 153 F.3d 1071, 1074 (9th Cir. 1998) (indicating that the res
judicata effects of a prior suit for race and sex discrimination did not preclude a court from
entertaining a subsequent hostile work environment claim to the extent that the latter claim was
based upon events occurring after the initial suit). The Court will also see in Chiu's Dec., Ex. N,
sub Ex. D that the defendant, DOE, has filed disciplinary charges that cover a period of three

school years: 1) school year 2002-2003, 2) school year 2003-2004, and 3) school year 2004-

2005. There are 15 specifications and 25 sub-specifications, plus one additional charge. Jd; See

also, Pl. Ex. N.

Therefore, Jeter I is not barred by res judicata because all the acts alleged in Jeter IJ occurred
after the complaint for Jeter J was filed on March 6, 1999. (See Chiu Dec., Exs. A and C. ). The
Court in Brenda Curtis and Alvin Williamson v. Citibank, N.A., Citicorp North America, Inc.,
Docket No. 99-7957 (2d Cir. 2000) stated that "While claim preclusion bars litigation of events

underlying a previous judgment, it does not preclude litigation of events arising after the filing of

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the complaint that form the basis of the first lawsuit." See SEC vy. First Jersey Secs., 101 F.3d
1450, 1464 (2d Cir. 1996). " The crucial date is the date the complaint was filed. The plaintiff
has no continuing obligation to file amendment to the complaint to stay abreast of subsequent
events; plaintiff may simply bring a later suit on those later arising claims." Jd. In addition, In
Jeter IT, there are three defendants while in Jeter 1, there was one defendant. Therefore and also
in this case, plaintiff have separate rights to bring claims against the DOI and SCI because they

were not defendants in Jeter J.

B. Plaintiff's Hostile Work Environment Claim is not barred by Res Judicata
The defendants claim that Plaintiff's hostile work environment claim is also barred because acts
plaintiff complains of were clearly present prior to and during Jeter J, and that, Plaintiff failed to
allege a hostile work environment in Jeter I. Defendants alleged that in Jeter I] that Plaintiff
alleges that he was subjected to a hostile work environment due to defendants’ investigation into
Plaintiff, threats of disciplinary charges, as well as harassment by Susan Erber, Bonnie Brown,
Francine Dreyfus, DOE's Medical Bureau, and other abuse by Steve Lent.The defendants states

that all the above acts occurred prior to or during Jeter J and are therefore barred. Plaintiff

dispute/disagree with the above assertions.

The defendants have not cited any specific acts that support their claim that plaintiff has claimed
the discriminatory acts have occurred since plaintiff began working for the defendant, DOE. The
continuing violation theory will not support that assertion from either the defendants’ or the
plaintiff's perspectives.. Defendants have not presented any specific fact that the defendants have
a discriminatory policies that have continued since plaintiff began to work for DOE. That is,

there is not a connecting discriminatory policy between Jeter J and Jeter IJ. The defendants are

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only relying on the allegation stated in plaintiff's complaint. (Chiu Dec. Ex. C, sec. D, paragraph
3). If the Court gives the assertion some merit toward dismissing Plaintiff's complaint, Plaintiff
would like to request an opportunity to amend his complaint to delete this assertion that "The
discriminatory acts "occurred over an extended period of time since plaintiff began working for

the defendant."

The complaint in Jeter 7 will and should demonstrate that Susan Eerber's actions could only be
determined when she filed the disciplinary charges because she did not threaten Plaintiff with
disciplinary charges in neither of the two letters she wrote to Plaintiff: 1) February 11, 2003 and
2) February 24, 2003. (See Chiu Dec., Ex. B, p. 10). The significants of Francine Dreyfus, LIS,
appearance at 811K is not in itself a hostile work environment, and the letter written by Bonnie
Brown in and of itself is not a hostile work environment claim because the actual threat to file
disciplinary charges for excessive absences was not carried out until June 6, 2005, i.e., guid pro
quo. Pl. Ex. B and Chiu Dec., Ex. N: sub ex. K; Also see Weeks v. New York State (division of

parole) Docket No. 00-0211 (2d. Cir. 2001)

The DOE's Medical Bureau hostile and abusive actions was not discovered until during Plaintiff's
disciplinary hearing when Yvonne Joseph, Medical Administrator for DOE's Medical, testified at
Plaintiff's 3020-a hearing. Plaintiff discovered Ms. Joseph was allowed to write the final report
for an investigation of a written complaint to Mayor Bloomberg for harassment and abuse by
Susan Erber and Bonnie Brown even though writing such a report is out of the responsibilities

her job title. See Chiu Dec., Ex. D, p. 6, also Pl. Ex. C. The complaint filed by Plaintiff was not

completed until January 3, 2005, even though it was filed in June 2003. See, Pl Ex. D. Plus the

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medical bureau has not issued a final decision in re plaintiff request to continue his treatment.
See Pl. Ex. J. i.e., Joseph testimony

The cases cited above in section (A) in this response to the defendants motion will also support
the fact that the hostile work environment claim is not barred by res judicata for the fact that the
continuing violation theory is inapplicable when applied to Jeter J and Jeter IJ. As stated above,
all the alleged acts that form the basis of Jeter J occurred prior to the commencement of this
cause of action on March 6, 1999. See, Chiu Dec., Ex. A. Acts that form the basis of Jeter II
hostile work environment cause of action began to occur in 2003 and are continuing to the
present. (See Chiu Dec. Ex. C). The gap in time between the commencement of Jeter J and the
first acts that support a cause of action for hostile work environment claim for Jeter I] is a period
of approximately four (4) years. In addition, the gap as to when the disciplinary charges were
filed in June 2005 from the actual commencement of Jeter J is time period of approximately six
(6) years. See Quinn 159 F.3d at 769 (external quotation marks and emphasis omitted), Annis,
136, F.2d at 246, ( discrimination allegedly suffered before and after six-year gap "cannot be
joined as a continuing violation"), Selan v. Kiley, 969 F2d 560, 565-67 (7th Cir. 1992) ( two-year
gap between discriminatory events "negates the contention that the acts were continuous or
connected"), and Blesedell v. Mobil Oil Co., 708 F. Supp. 1408, 1417-18 (S.D.N.Y. 1989) (no
continuing violation in light of four-year interval between discriminatory incidents), and Plaintiff

was not obligated to file supplemental complaints. See S_E.C v. First Jersey above.

ap)
C. Plaintiff sections 1981, 1983 Claims are not Barred by Res Judicata

Plaintiff's sections 1981 and 1983 claims are not barred by res judicata because these claims are
not connected to the same transactions as alleged in Jeter J. These claims occurred after Jeter I
was filed in March 6, 1999; therefore they could not have been raised during this prior action.
See Chui Dec., Exs. A, B and C. Plus. these claims do not involve the same parties, similar legal
issues, similar facts; the same type of wrongful conduct, nor requires the same evidence to

support them, nor are they based on the same facts that were presented in Jeter I. See S.E.C. v.

First Jersey Sec., Inc., 101 F.3d 1450, 1463 (2d Cir. 1996).

POINT I
THIS COURT HAVE SUBJECT MATTER

JURISDICTION OVER PLAINTIFF'S TITLE
VILAND NYSDHR CLAIMS

A. Plaintiff's Title VII Claim is Not Barred and is Timely Filed

The defendants alleged that Plaintiff's Title VII claims are timed barred because Plaintiff did not
timely file the Title VII claims. The defendants base these assertions on the fact that Plaintiff
received two right-to-sue letters. See Chiu Dec., Exs. H and K. That is, Plaintiff received a right-
to-sue letter based on Plaintiff's charges filed on July 6, 2004, and a right-to-sue letter for charges
filed on August 11, 2005. See Chiu Dec., Exs. F, H, land C. The NYSDHR issued a finding of

"No Probable Cause" for both claims. See Chiu Dec., Exs. G and J.

The defendants also stated that in NYSDHR I] Plaintiff did not "claim unlawful discrimination
based on race or sex. Plaintiff did allege claim for unlawful discrimination based on race. See, Pl.

Ex. E. Plaintiff filed Jeter 7 on July 27, 2006. See, Chui Dec., Ex. C.

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The defendants stated that Plaintiff must commence suit within 90 days of receiving the right-to-
sue letter, and "in instances where multiple right-to-sue letters are received, a plaintiff's time to
file a suit begins to run "from the receipt of the first right-to-sue letter, not the second"." The
defendants would be correct if the two right-to-sue letters were based on the same issues and
facts. Lo v. Pan American, 787 F.2d 827, 828 (2nd Cir. 1986). In Lo v. Pan American, the
Plaintiff 's second Notice is concededly based upon the charges involving exactly the same facts
as in the first Notice”. Jd. As the Court review the charges, the Court will see that right-to-sue
Notices are not based on on the same issues and facts. See Pl. Exs. E, F, G and M.; Dahbany-
Miraglia v. Queensboro Community College, 03 Civ. 8052 (SAS)(Southern Dist. of New York)

2004 U.S. Dist. LEXIS 9709. (Hereafter, Dahbany v. Queensboro).

In Dahbany v. Queensboro, the Court stated "Thus, the expiration of the 90 day period triggered
by the employee's receipt of her first right-to-sue letter did not preclude the suit to the extent that
the employee's complaint was based on allegations in the 2003 charge which did not appear in
the 2001 charge". In the charges Plaintiff filed on July 6, 2004 and August 11, 2005, it is clear
that the two charges are different, and the allegations raised in the two charges are distinctly
different. Jd. The first charge deals with "increasing Plaintiff's caseload", and the NYSDHR J
issued a "No Probable Cause" finding on October 6, 2005, while the second charge filed on
August 11, 2005 was still pending and it deals with allegations that were not raised in the
NYSDHR I because those allegations arose after the first complaint was filed July 6, 2004 an are
completely different. (Pl. Exs. E, F. and M. ); Cf Narvarte v. Chase Manhattan Bank, N.A., 969
F. Supp. 10, 12, (S.D.N.¥. 1997) [HN 13] ("When a complaint alleges discrimination on a basis

different from that contained in the EEOC Charge, the allegations in the subsequent [*20]

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complaint cannot be considered reasonably related to the EECO Charge.") (citing Cheek v.

Western and Southern Life Ins. Co., 31 F.3d 497, 502 (7th Cir. 1994).

In addition, the Court in Dahbany v. Queensboro stated that "Therefore, the expiration of the
ninety-day period triggered plaintiff's receipt of her first right-to-sue letter will not preclude the
instant suit to the extent that plaintiff's Complaint is based on allegations in the second charge
which did not appear in the first Charge. See Salerno v. City Univ. of N.Y., 2002 U.S. Dist. LEXIS
24454, No. 99 Civ. 11151, 2002 WL 31856953, at *4(S.D.N.Y. Dec. 19, 2002) ("if defendants'
argument were accepted [that plaintiff's Title VII claims should be dismissed in their entirety for
her failure to file suit within ninety days of receipt of a right-to-sue letter in March 1991], the
failure of an employee to file suit after filing an administrative charge of hostile work
environment or retaliation would essentially give an employer carte blanche to mistreat an

employee thereafter.").

The charges are also different in another area, i.e., the second charge named different individuals
that were not named in the first charge, e.g., Susan Erber and Francine Dreyfus was not

mentioned in the first complaint. See, Pl. Exs. E and F.

The act of actually filing disciplinary charges is a discrete act of discrimination, and Plaintiff
was required to file a separate discrimination charge/complaint 300 days from the alleged
actions. Alexander v. Gardner-Denver Co., 415 U.S. 36, 47 (1974); Evan Washington, Howard
Pierson, IV and Secunda Crump v. County of Rockland, James F. Kralik, in his individual
capacity, et al. Docket No. 02-7929 (2d Cir 2004); Washington v. County of Rockland, 373 F.3d

310, 320 (2d Cir. 2004).

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The retaliation act(s) of filing the disciplinary charges for the June 6, 2005 disciplinary charges
also required Plaintiff to file a charge/complaint within 300 days of the discrete discriminatory
act(s). See, National Railroad Passenger Corporation v. Morgan, 455 U.S. 385 102 S.Ct.
(Hereinafter, Amtrak v. Morgan). The acts of retaliatory discrimination did not occur until June
6, 2005 when the defendant, DOE, filed disciplinary charges against Plaintiff. This act occurred
almost one (1) year, to be exact, 333 days, after Plaintiff filed the first complaint with NYSDHR
on July 6, 2004. See Chiu Dec., Exs. F, G; I and J. In addition, the Supreme stated in Amtrak v.
Morgan, that "A party must file a charge within either 180 or 300 days of the date that the
discrete retaliatory or discrete act "occurred" or lose the ability to recover", and in addition,
"Each discrete discriminatory act starts a new clock for filing charges alleging that act".
Therefore, based on the above assertions, Plaintiff's Title VII claims are not barred, and this

Court have subject matter jurisdiction.

B. Plaintiff's NYSDHR Claim is Not Barred by the Election of Remedies Doctrine

Plaintiff's NYSDHR claim is not barred by the election of remedies doctrine because as Plaintiff
has elaborated through this response, the defendant, DOE, has achieved a "No Probable Cause"
decision from the NYSDHR by fraud and misrepresentation. The DOE in its response to
complaint to the NYSDHR has stated that: 1) an assistant principal reviewed other related
service providers paper work when in fact the assistant principal has stated that she was only
instructed to review plaintiff's paper work, see Pl. Ex. J and M; 2) the defendant, DOE, i.e.,
Susan Erber, instructed 811K's payroll secretary, Mary Flynn, to take positive days out of
Plaintiff's cumulative absence reserve (CAR) thereby creating negative days in Plaintiffs CAR

for which the DOE brought Plaintiff up on disciplinary charges for unauthorized absence, see Pl.

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Ex. K and Chiu Dec., Ex. N, sub. Ex. D, specifications 1 and 2; 3) SCI investigator deliberately
misrepresented the fact that the mother of the two students in which DOE is falsely accusing
Plaintiff of not providing counseling services too when he claimed the the mother of the two
students stated that her two children told her that Plaintiff did not see them for counseling, i.e.,
one of the children is mildly retarded and the other is autistic and mildly retarded, when in fact
the mother stated that she did not make that statement to the SCI investigator,see Pl. Ex. O and
Chiu Dec., Ex. N, sub. Ex. H.; 4) SCI investigator said that one of the teachers told him that
Plaintiff did not provide counseling service to one of the above mentioned students when the
teacher stated that Plaintiff did see the student, see Pl. Exs. M and P and Chiu Dec., Ex. N, sub.
Ex H (see footnote number 2); 5) The defendant, DOE, committed extrinsic fraud and
misrepresented the facts to the NYSDHR that plaintiff did not perform his duties, See Chiu Dec.,
Exs. L, M and N, sub. Exs. H and Z and see entire transcript of University of the State of New
York State Education Department School District Employer-Employee Relations: In the Matter
of the Disciplinary proceeding Between Department of Education of the City of New York v.
Ernest Jeter, Pursuant to Education Law section 3020-a, SED File No. 5285: 6012.
Subsequently and based on the above provided information, Plaintiff's claims that Plaintiff's
claims pursuant to New York State Executive Law sections 290 and 296, et seq., are not barred by
the election of remedies doctrine because Plaintiff has not had a full and fair opportunity to
litigate these cause of actions because the defendants have deprived Plaintiff of this opportunity
by committing acts of extrinsic fraud and misrepresentation. This or these contention(s) can be
applied to all of the defendants claims that Plaintiff complaint is barred by res judicata and
collateral estoppel simply because plaintiff has not had the full and fair opportunity to litigate

these matters fairly, and Plaintiff does not see why the defendants gain from their misconduct.

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C. Defendants did not argue or produce any evidence that Plaintiff's Retaliation
Claim(s) is Barred and is not Timely Filed

The defendants in their moving papers did not raise any arguments or objections opposing
Plaintiff's retaliation claim(s) for the simple reason in that it or they is/are not barred by res
judicata and is/are timely filed. In other words, the omission is a concession that Plaintiff's
retaliation claim(s) was/were timely filed. See, Pl. Exs. E and F.; also see Local Civil Rule 56.

1(a); Amtrack v. Morton.

The claims for retaliation are based on the following: 1)OEO complaint for employee to
employee harassment, see, Chiu Dec. Ex. N, Sub. Exs. F and G.; 2) the complaint to Mayor
Bloomberg, see, P]. Ex. H; 3) the complaint to the Special Commission of Investigation for New
York City Schools that was completed on January 3, 2005, see, Pl. Ex. I; 4) the NYSDHR
complaint dated July 6, 2004, see, Pl. Ex. F.; 5) the complaint to OEO against B. Brown and F.
Dreyfus, see, Pl. Ex. L, and 6?) filing of the disciplinary charges, see, Chiu Dec., Ex. N, Sub. Ex.
E. The above cited employee harassment, the complaint to the Mayor Bloomberg, complaint to
SCI, the NYSDHR are retaliation claims that are directly connected to the disciplinary charges

filed on June 6, 2005. See Chiu Dec., Ex. N, sub. ex. D.

Steve Lent supposedly complaints against Plaintiff are listed as specification 8 and 9 of the
disciplinary charges even though Plaintiff filed an OEO complaint against him in March of 2004.
Id. The complaint to Mayor Bloomberg that was eventually referred to SCI is directly because the
complaint was pending for approximately one year and a half (1 1/2) before a decision was

issued on January 3, 2005. See Pl. Ex. H.

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bag
POINT II

PLAINTIFF'S SECTIONS 1981, 1983 CLAIMS ARE NOT
BARRED BY PRIOR ADMINISTRATIVE HEARING

A. Plaintiff's NYSDHR Proceeding does not bar his sections 1981 and 1983 Claims
The proceeding before the NYSDHR does not bar plaintiff's sections 1981 and 1983 claims
because the decision of "No Probable Cause" in the NYSDHR I and II was procured by "extrinsic
fraud", and therefore Plaintiff did not received a full and fair opportunity to litigate before
NYSDHR. (See Chiu Dec., Exs. L and M.). Fraud NYSDHR I: Pl. did not turn in schedule Ex. N,
G, failed to provide medical documentations and failed to comply with medical bureau request
for documentation so that they could review his claim, Plaintiff was not assigned to
superintendent office when charges was filed. He told Margo Levy he was going for medical
therapy on Tuesdays and Thursdays when in fact when the charge was filed Pl. was not taking
days off, and it was not and issue in PI. charge, and the issue of the assignment to the
superintendent office was not the charge related to 811K. Plaintiff did not receive a U rating for
his attendance, and Plaintiff was not given an opportunity to respond to the accusation in re
attendance and the schedules for NYSDHR I, Defendant committed fraud by stating that plaintiff
attendance was unsatisfactory (Rating sheet for 2003-2004 school year) Defendant. took days out
of plaintiff CAR without authorization (employee printout) Susan Erber told payroll secretary
Mary Flynn to take days out of plaintiff's CAR/sick days Ex. N: sub ex. B. Mary Flynn is made
her statement under oath, and Susan Erber, under oath, stated that she did not have the authority
to instruct Mary Flynn to take sick days out of Plaintiff's sick bank. See Chiu Dec. Exs N, Sub.
Ex. PI. Exs. This is a clear example of the fact that Plaintiff did not have, as stated above, a "full

and fair opportunity" to b

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In addition, the doctrine of "collateral estoppel, or issue preclusion, bars the relitigation of issues
actually litigated and decided in the prior proceeding, as long as that determination was essential
to that judgment." See Beck v. Levering, 947 F.2d 639, 642 (2d Cir. !991) (per curiam), cert.
denied, 112 S.Ct. 1937 (1992). There are also four elements that must be met before collateral
estoppel applies, and they are: 1) the issues of both proceedings must be identical, 2) the relevant
issues were actually litigated and decided in the prior proceeding, 3) there must have been "full
and fair opportunity" for the litigation of the issues in the prior proceeding, and 4) the issues were
necessary to support a valid and final judgment on the merits. See Gelb v. Royal Globe Ins. Co.,
798 F.2d 38, 44 (2d Cir. 1986) (setting forth four-part test, cert. denied, (1987). Therefore, this
Court must remember that it was the DOE that initiated disciplinary actions against plaintiff, and
also two of the defendants ( DOI and SCI)were not parties to the litigational action and they were
not privy to the disciplinary actions because they were not employers of plaintiff. See Chiu Dec.,
Ex. N, Sub. Ex. D. The DOI and the SCI

In essence the DOE procured a "No Probable Cause" decision from the NYSDHR by
"extrinsic fraud" when the defendant, DOE produced information that Plaintiff's attendance was
"unsatisfactory" when in fact Mary Flynn was instructed to take days out of Plaintiff's sick bank
by Susan Erber, former Superintendent of District 75. Pl. Exs. and See Chiu Dec. Ex. L. Plus
defendant, DOE, also committed extrinsic fraud when they stated that plaintiff did not turn in
monthly counseling schedule and he had not requested accommodations( See Chiu De., Ex. G,
Plaintiff's monthly counseling schedules) , and that plaintiff did not furnish the proper medical
documentation which would have assisted the staff of the medical bureau to evaluate plaintiff's
conditions. See Chiu Dec. Exs. L and N, Sub. Ex. B . This previous contention is refuted by the

fact Yvonne Joseph stated in her letter to Thomas Hyland, Deputy Director of DOE Office of

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Special Investigation dated December 28, 2004 that Plaintiff medical information was received
on May 12, 2004 even though this date of May 12, 2004 (PI. Ex. Q) is a misrepresentation
because the date should read as May 12, 2003 See Chiu Dec. Ex. D. page 5 and 7.

As for the NYSDHR second "No Probable Cause" findings dated March 13, 2006, the NYSDHR
based on the followings: 1) the respondent states that the OSI investigation and the substantiated
finding was based on a parent's complaint that her children who attended 811K were not seen for
counseling by the complainant during the 2003-4 school year, 2) the assistant principal reviewed
the other related service givers' (provider) sign-in/sign-out sheets and attendance cards, 3) the
investigation revealed that in four instances, the complainant claimed to have counseling
secession with students who were absent from or a session session on Sunday; 4)The
Department's office of Investigation became involved and the ensuring investigation revealed
that some of the complainant's records were fraudulent, and 5) the NYSDHR states that " A
request for additional information from the respondent indicates that the complainant is the only
guidance assigned to the Regional office. In the absent of comparators, the complainant cannot
allege that he is being treated disparately. In addition, as stated in the respondent's position
statement, all related service staff in the school where the complainant was employed have their
records checked, 6) Copies of complainant's attendance records provided by the Department of
Education indicate that the complainant's has not been falsely accused of excessive absenteeism".
See Chiu Dec., Ex. M. The NYSDHR made it's decision to find a "No Probable Cause" decision
based on the previous information, and Plaintiff is alleging that this decision was based on
"extrinsic fraud" because there was testimony under oath in the 3020-a proceeding against
plaintiff that totally dispute the finding of "No Probable Cause" by NYSDHR, and these

testimonies will demonstrate that plaintiff did not have a "full and fair opportunity" to litigate the

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issues in the NYSDHR prior proceedings because of the defendants extrinsic fraudulent actions

to deprive Plaintiff of a "full and fair opportunity to litigate these issues fairly.

For instances, the NYSDHR and the DOE stated that the OSI investigation was based ona
parent's complaint that her two children were not seen for counseling. This contention can be
disputed by two points: 1) there are no record or final report that can be produce that will
demonstrate that OSI, i.e., Department of Education Office of Investigation ("OSI") performed an
investigation of Plaintiff. See Pl. Ex. C.and Chiu Dec., Ex, H., 2) The assistant principal who the
NYSDHR and the DOE said reviewed the other related service providers sign-in/sign-out sheets
and attendance cards has testified under oath in the DOE's 3020-a proceeding against Plaintiff
that she did not review the other related services providers sign-in/sign-out sheets or attendance
cards, 3) it was revealed during the 3020-a proceedings that since unauthorized personnel handle
the attendance cards and they, i.e., Rosina DeMarco, former Assistant Principal of 811K and
Francine Dreyfus, former Local Instructional Superintendent (LIS) of District 75, have
demonstrated some personal bias against Plaintiff, they could have tampered with the attendance
cards. This previous statement is supported by the deliberate misrepresentation the DOE
provided to the NYSDHR stating that an assistant reviewed the other related providers paper
work. See Pl. Exs. C and De Marco transcript., 4) Once again, the Department's Office of
Investigation have not performed an investigation of plaintiff, and since there was no
investigation by OSI, NYSDHR did not have sufficient evidence to support that the "ensuring
investigation revealed that some of complainant's records were fraudulent"., and 5) as to the
respondent response that Plaintiff was the only guidance counselor assigned to the Regional

Office, and in the absent of comparators, the complainant cannot allege that he is being treated

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disparately, this is a faulty conclusion that is based on fraudulent information. It is fraudulent
because the defendant, DOE, knew at the time that they submitted this fraudulent information to
the NYSDHR, Plaintiff was reassigned pending 3020-a disciplinary proceedings.See Chiu Dec.,
Ex. N, Sub. Ex. H H, para. F. and Ex. N, Sub. Ex. AA, and Ex. N, Sub. Ex. DD. Plus, it is clear
that all the issues in the complaint to the NYSDHR occurred at 811K, and it is clear that the
fraudulent information produced by the DOE and relied upon by the NYSDHR deprived Plaintiff
of a "full and fair opportunity" to litigate this matter fairly, and there claim preclusion and issue
preclusion does not apply in this instance to plaintiff cause of action. It is also clear that the
actual relevant issues was not litigated, and the issued raised above were necessary to support a
valid and final judgment on the merits. See Gelb v. Royal Globe Ins. Co., 798 F. 2d 38, 44 (2d.
Cir. 1986); Fauntleroy v. Lum, 210 U.S. 230, 28 S.Ct. 641, 52 L.Ed. 1039 (1908); 28 U.S.C.A.
1738 ( Full faith and credit statue). Therefore, based on the information provided above,

defendants motion to dismiss Plaintiff complaint should be denied.

 

B. This Action should not be Stayed Due to the Pending section 3020-a Proceeding

This action should not be stayed due to the pending 3020-s proceeding simply because the
Hearing Officer did not have jurisdiction over all the defendants during the 3020-a proceeding.
See Chiu Dec., Ex. N, sub. ex. D; New York State Education; Section 3020-a. This action of
staying the current action would be prejudicial to plaintiff rights to proceed in an expeditious
manner to preserve any and all relevant evidence that may or could be discovered during
discovery. In addition, the actions taken by the others defendants were taken with the intent to
harm plaintiff rights as a tenured employee of the DOE and to deny plaintiff equal protection

under the law. See New York City Mayor's Executive Order No. 11 and New York City Charter,

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section. In other words, plaintiff did not have a full and fair opportunity to litigate these claims
against the New York City Department of Investigation and the Special Commissioner of
Investigation for the New York City School District, simply, as stated above, the Hearing Officer
is granted powers to adjudicate any matter pertaining Plaintiff and the previous mentioned
defendants.

Likewise, Plaintiff's is also claiming that the defendants in this complaint, Jeter IJ, have
committed acts of extrinsic fraud in their attempt to harm Plaintiff. See Chui Dec., Ex. N; Ex.N,
sub. exs. H, N. These acts of fraud serves only one purpose, and that is to deny plaintiff his
constitutional rights to his one day in court to have a full and fair opportunity litigate his
complaints. See Beck v. Levering, 947 F.2d 639, 642 (2d Cir. 1991). In addition, the defendants
have not provided this Court with any evidence that this Court can actually compare with the
allegations alleged in plaintiff's current complaint in order for the Court to make a fair

determination as to what issues occurred in the proceedings.

In furtherance of this argument, the DOI and SCI are not privities to the actions in the 3020-a
proceedings. i.e., "Privity traditionally denoted a "successive relationship to the same rights of
property". Bailey, 49 F. at 585. Plus, Plaintiff have the right to bring claims against the other
defendants who harmed Plaintiff who in that Plaintiff has not had the opportunity to pursue a
claim against them because Plaintiff was the respondent in the 3020-a proceedings. See
Restatement (Second) of Judgments Sections 49 mt. a (1982) (For preclusion purposes, "the claim
against others who are liable for the same harm is regarded as separate."); 18 Charles A. Wright,
Arthur R. Miller & Edward H. Cooper, Federal practice and Procedure section 4407, at 52-53
("A single plaintiff has as many causes of actions as there are defendants to pursue."), See also

Central Hudson Gas & Electric Corporation v. Empresa Naviera Santa S.A., No. 15 August

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Term, 1994. (Argued December 16, 1994, Decided May 17, 1995, Docket No. 94-7477 (2d Cir.
eo 1995). These previous citations apply to all defendants arguments that attempt to use res judicata

as a defense with respects to dismissing Plaintiff's complaint.

POINT IV

PLAINTIFF'S SECTIONS 1985, 1985 CLAIMS ARE

NOT BARRED BY THE INTRA-CORPORATE

IMMUNITY DOCTRINE
Defendant motion to dismiss Plaintiff's sections 1985 and 1986 claims based on the intra-
corporate immunity doctrine should be denied. Defendants motion should be denied for the
following reasons:
1) The defendants have exhibited person bias against Plaintiff;
2) All individuals who participated in the conspiracy to cause harm to Plaintiff are not employed
by the City of New; see Pl. Exs. D and O.
3) All individuals who caused harm to Plaintiff were not operating in the scope of their
employment; see Pl. Exs. A, B, C, D; H, I, J; S, R; S and T.
4) All the individuals who participated in the conspiracy to bring disciplinary charges and

ultimately Plaintiff's termination were not functioning in a supervising or management. Jd.

The defendants have exhibited personal bias against Plaintiff in the following manners:
1) The acts of deliberately taking time out Plaintiff's sick bank when Plaintiff had 37 reserved
sick days in order to charge Plaintiff with excessive absenteeism, See P]. Ex. K and Chiu Dec.,

Ex. N, Sub. Ex. B.;

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2) The mother, of the two children that was mentioned in the SCI report and in the position paper
the DOE submitted to the NYSDHR, who participated in this plot to harm Plaintiff when she
claimed to claim that Plaintiff did not provide mandated counseling to her children when in fact
she testified during Plaintiff's 3020-a hearing that during school year 2004-2004 not one staff
member at 811K informed her that Plaintiff was not seeing her children for counseling, and she
is not an employee of the City of New York. Yet, the SCI and the DOE took her complaint as if it
was true, and commenced an investigation that ultimately ended up with the DOE proceeding
with disciplinary charges against Plaintiff, see Pl. Ex. O,

3) Plus, the personal bias extends further with the fact that SCI and Francine Dreyfus in their
reports claimed that this mother told them that her two autistic and mildly mentally retarded
children told her that Plaintiff was not servicing her children. This mother is under oath testifying
during the 3020-a proceeding that she did not make the statement to either the SCI investigator or
Francine Dreyfus that her children told her that Plaintiff was not taking them out of class for
counselor. The actions of the investigator and Dreyfus are clear indications of personal bias
against plaintiff. See Pl. Exs. O and R. The personal bias is taken even a step further and based
on the actions of the SCI investigator, Francine Dreyfus, and the mother when there was actually
no basis for an investigation or a complaint from Francine Dreyfus, or any foundation for the
mother to make a complaint against Plaintiff. This point also demonstrates that these individuals,
SCI investigator and Francine Dreyfus, were functioning well outside the scope of there
employee. Fabbricante v. City of New York, 2002 U.S. Dist. Lexis 27815 *24 (E.D.N.Y. Nov.
18, 2002) (Sifton, J) quoting Travis v. Gary Community Health Ctr., Inc., 921 F.2d 108, 110 (7th
Cir. 1990). See also, In the Matter of The New York City Department of Education, District 75 v.

Ernest Jeter, Section 3020-a Education Law Proceeding (File #5,285) (2005)

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8 This mother, Sylvia Sera, is a part of the conspiracy therefore Plaintiff is requesting to amend the
complaint to include her as one of the defendants. The mother made a false claims that plaintiff

did not see her children did not received counseling. 4) Steve Lent is not a supervisor.

POINT V

PLAINTIFF'S REMAINING SECTION 1983
CLAIMS SHOULD NOT BE DISMISSED

Plaintiff's remaining section 1983 claims should not be dismissed because all Plaintiff had to do
in order to defeat a 12(b)(6) motion to dismiss Plaintiff's section 1983 claims was just to alleged
that the defendants have a customs, practices and policies. See Monel v. New York City Dept. of
Social Services, 436 U.S. 658 (1978). The defendants alleged that Plaintiff "Each allegation is
® stated in a conclusive fashion without any supporting facts or even a substantive constitutional
violation, i.e., with the exception of plaintiff's continued employment as a tenured guidance
counselor at DOE, which defendants concede is a protected property interest. The evidence
Plaintiff provided in his Affidavits of Support of Plaintiff's Memorandum of Law that this Court
should deny defendants motion to dismiss Plaintiff's complaint supplies supporting facts to
support the other 1983 claims. In addition, in Chui Dec., Ex. C, sec. F paras. 2(b), 4-10, 12-15
and 22-24, the Court should look at Chui Dec., Ex. N, and all subsequent sub exhibits in this
exhibit, Plaintiff's exhibits, and the 3020-a transcripts of Rosina DeMarco, Steve Lent, Margo
Levy,, Marsiste Aldolphe, and Ernest Jeter. Then this Court will be able to determine that that
there are substantive constitutional violation. For one plaintiff was not provided equal protection

under the color of the law when Plaintiff filed complaint with the defendant as opposed to other

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individuals. Plaintiff has filed numerous complaint that the defendants have failed to investigate
as required by the Mayor of the City of New York Executive Order #11.

The defendants have also attempted to harm Plaintiff because of protected speech, .i-e., First
Amendment rights under the Constitution of the United States when the defendants brought
Plaintiff up on disciplinary charges for reporting possible medical fraud when Plaintiff brought to
defendants attention that an 881K school staff member was falsifying documents for which the
defendant, DOE, receives medicaid reimbursement, see Chiu Dec., Ex. N, sub. ex. U, and the
fact that the defendants have not investigated the defendant, DOE, based on Plaintiff's complaint
that the defendant, DOE, is deliberately committed medicaid fraud by forcing speech provider to
falsify attendance documents. See 3020-a Transcripts In the Matter of NYC Dept of Ed. v. Ernest
Jeter (File #5,285) of Penny Leblang, Rosina DeMarco, Steve Lent; Marsiste Aldolphe and

Ernest Jeter.

CONCLUSION

For all the above reasons Plaintiff respectfully request that this Court denies defendants motion
to dismiss Plaintiff's complaint, and grant other and further relief as this Court deems
appropriate, just and proper. Plus, at this time, Plaintiff would like to inform the Court that
Plaintiff included exhibits in his affidavit that are not available to Plaintiff for exhibits P and T.
For those two exhibits, Plaintiff is referring to the transcripts of those two individuals, Ayanna
McHugh and Susan Erber, in the 3020-a hearing.

Dated: Brooklyn, New York
March 3, 2007

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